Case 18-12013-BFK            Doc 32 Filed 09/12/18 Entered 09/13/18 01:21:25                        Desc Imaged
                                  Certificate of Notice Page 1 of 2
                                     United States Bankruptcy Court
                                           Eastern District of Virginia
                                               Alexandria Division
                                           200 South Washington Street
                                              Alexandria, VA 22314



                                                            Case Number 18−12013−BFK
                                                            Chapter 7

In re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):

   Anthony F Ford                                          Kim A Kieklak
   13812 Beaujolais Ct.                                    13812 Beaujolais Ct.
   Chantilly, VA 20151                                     Chantilly, VA 20151

Last four digits of Social−Security or Individual Taxpayer−Identification (ITIN) No(s).,(if any):
   Debtor: xxx−xx−6594                                    Joint Debtor: xxx−xx−3665

Employer Tax−Identification (EIN) No(s).(if any):
  Debtor: NA                                               Joint Debtor: NA



                                      NOTICE OF DISMISSAL OF CASE

Notice is hereby given that an order was entered on September 10, 2018 dismissing the above−captioned case.




Dated: September 10, 2018                                   For the Court,

                                                            William C. Redden, Clerk
[VAN015vDec2009.jsp]                                        United States Bankruptcy Court
      Case 18-12013-BFK                Doc 32 Filed 09/12/18 Entered 09/13/18 01:21:25                               Desc Imaged
                                            Certificate of Notice Page 2 of 2
                                               United States Bankruptcy Court
                                               Eastern District of Virginia
In re:                                                                                                     Case No. 18-12013-BFK
Anthony F Ford                                                                                             Chapter 7
Kim A Kieklak
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0422-9                  User: jonesar                      Page 1 of 1                          Date Rcvd: Sep 10, 2018
                                      Form ID: VAN015                    Total Noticed: 2


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 12, 2018.
db/jdb         +Anthony F Ford,   Kim A Kieklak,   13812 Beaujolais Ct.,   Chantilly, VA 20151-3609
14407017       +Mr. Cooper,   8950 Cypress Waters Blvd.,   Coppell, TX 75019-4620

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr                U.S. Bank National Association, as Trustee for Leh
                                                                                                                    TOTALS: 1, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 12, 2018                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 10, 2018 at the address(es) listed below:
              Heather D. McGivern    on behalf of Creditor   U.S. Bank National Association, as Trustee for
               Lehman XS Trust Mortgage Pass-Through Certificates, SERIES 2007-15N ecfaccount@orlans.com,
               ANHSOrlans@InfoEx.com
              Jack Frankel    on behalf of U.S. Trustee John P. Fitzgerald, III jack.i.frankel@usdoj.gov,
               USTPRegion04.ax.ecf@usdoj.gov
              John P. Fitzgerald, III    ustpregion04.ax.ecf@usdoj.gov
              Kevin R. McCarthy   krm@mccarthywhite.com, kmccarthy@remote7solutions.com;DC07@ecfcbis.com
                                                                                             TOTAL: 4
